B6B (Official Form 6B) (12/07)


In re    Netwurx, Inc.                                                                         ,                       Case No.    08-26131
                                                                                                                                                   (If known)
                                                                  Debtor



                                                   SCHEDULE B - PERSONAL PROPERTY

               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
         categories, place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a
         separate sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state whether
         the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
         Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C -
         Property Claimed as Exempt.

             Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
        Contracts and Unexpired Leases.

        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of
        Property.” If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or
        guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P.
        1007(m).




                                                                                                                                                     CURRENT VALUE OF
                                                                                                                                                     DEBTOR'S INTEREST
                                                                                                                                                     IN PROPERTY, WITH-
                                                                               DESCRIPTION AND LOCATION                                              OUT DEDUCTING ANY
               TYPE OF PROPERTY                                                      OF PROPERTY                                                       SECURED CLAIM
                                                                                                                                                        OR EXEMPTION




   1. Cash on hand                                   X
   2. Checking, savings or other financial                First Bank Financial Centre                                                                              223.43
      accounts, certificates of deposit, or
      shares in banks, savings and loan, thrift,
                                                          P.O. Box 270220
      building and loan, and homestead                    Hartford, WI 53027
      associations, or credit unions, brokerage           Checking Acct. No. 112782
      houses, or cooperatives.

   3. Security deposits with public utilities,       X
      telephone companies, landlords, and
      others.

   4. Household goods and furnishings,               X
      including audio, video, and computer
      equipment.

   5. Books, pictures and other art objects,         X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.

   6. Wearing apparel.                               X
   7. Furs and jewelry.                              X
   8. Firearms and sports, photographic, and         X
      other hobby equipment.

   9. Interests in insurance policies. Name          X
      insurance company of each policy and
      itemize surrender or refund value of
      each.

  10. Annuities. Itemize and name each               X
      issuer.

  11. Interests in an education IRA as defined       X
      in 26 U.S.C. § 530(b)(1) or under a
      qualified State tuition plan as defined in
      26 U.S.C. § 529(b)(1). Give particulars.
      (File separately the record(s) of any such
      interest(s). 11 U.S.C. § 521(c).)




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In re       Netwurx, Inc.                                                                  ,             Case No.   08-26131
                                                                                                                               (If known)
                                                                   Debtor



                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)



                                                                                                                                 CURRENT VALUE OF
                                                                                                                                 DEBTOR'S INTEREST
                                                                                                                                 IN PROPERTY, WITH-
                                                                              DESCRIPTION AND LOCATION                           OUT DEDUCTING ANY
                 TYPE OF PROPERTY                                                   OF PROPERTY                                    SECURED CLAIM
                                                                                                                                    OR EXEMPTION




  12. Interests in IRA, ERISA, Keogh, or other           X
      pension or profit sharing plans. Give
      particulars.

  13. Stock and interests in incorporated and            X
      unincorporated businesses. Itemize.

  14. Interests in partnerships or joint ventures.       X
      Itemize.

  15. Government and corporate bonds and                 X
      other negotiable and nonnegotiable
      instruments.

  16. Accounts receivable.                                   Accounts Receivable                                                            197,784.75
  17. Alimony, maintenance, support, and                 X
      property settlements to which the debtor
      is or may be entitled. Give particulars.

  18. Other liquidated debts owed to debtor              X
      including tax refunds. Give particulars.

  19. Equitable or future interests, life estates,       X
      and rights or powers exercisable for the
      benefit of the debtor other than those
      listed in Schedule A - Real Property.

  20. Contingent and noncontingent interests             X
      in estate of a decedent, death benefit
      plan, life insurance policy, or trust.

  21. Other contingent and unliquidated claims           X
      of every nature, including tax refunds,
      counterclaims of the debtor, and rights to
      setoff claims. Give estimated value of
      each.

  22. Patents, copyrights, and other intellectual        X
      property. Give particulars.

  23. Licenses, franchises, and other general            X
      intangibles. Give particulars.

  24. Customer lists or other compilations                   Dan Spangler, LLC - Jefnet customer list                                       160,000.00
      containing personally identifiable
      information (as defined in 11 U.S.C. §
      101(41A)) provided to the debtor by
      individuals in connection with obtaining a
      product or service from the debtor primarily
      for personal, family, or household
      purposes.

        Customer lists or other compilations                 IDC Customer lists                                                             390,000.00
        containing personally identifiable
        information (as defined in 11 U.S.C. §
        101(41A)) provided to the debtor by
        individuals in connection with obtaining a
        product or service from the debtor primarily
        for personal, family, or household
        purposes.




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B6B (Official Form 6B) (12/07) -- Cont.

In re      Netwurx, Inc.                                                                   ,                Case No.     08-26131
                                                                                                                                         (If known)
                                                                 Debtor



                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)



                                                                                                                                           CURRENT VALUE OF
                                                                                                                                           DEBTOR'S INTEREST
                                                                                                                                           IN PROPERTY, WITH-
                                                                             DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
                 TYPE OF PROPERTY                                                  OF PROPERTY                                               SECURED CLAIM
                                                                                                                                              OR EXEMPTION




  24. Customer lists or other compilations                 Netwurx. Inc.                                                                                 540,000.00
      containing personally identifiable
      information (as defined in 11 U.S.C. §
      101(41A)) provided to the debtor by
      individuals in connection with obtaining a
      product or service from the debtor primarily
      for personal, family, or household
      purposes.

  25. Automobiles, trucks, trailers, and other             1998 Jeep Grand Cherokee; 1998 Jeep Grand                                                      11,745.00
      vehicles and accessories.
                                                           Cherokee; 2002 Honda Odyssey; 2004 Haulmark
                                                           Trailer
  26. Boats, motors, and accessories.                  X
  27. Aircraft and accessories.                        X
  28. Office equipment, furnishings, and               X
      supplies.

  29. Machinery, fixtures, equipment and                   2 laptop HP Pavilion dv2000; 2 laptop HP pavilion                                                3,933.00
      supplies used in business.
                                                           ent. dv9000; laptop HP dv6000; Macbook; laptop
                                                           clone; laptop HP; 8 Acer 22" monitors; 11 standard
                                                           desktops; 17 17" old monitors; HP officejet 7410;
                                                           Xerox M201; HP deskjet 1000c; Epson stylus color
                                                           900; HP laserjet 1100; HP 5si; HP 1020; 18 desks; 18
                                                           chairs
  30. Inventory.                                           Radios                                                                                         17,400.00
  31. Animals.                                         X
  32. Crops - growing or harvested. Give               X
      particulars.

  33. Farming equipment and implements.                X
  34. Farm supplies, chemicals, and feed.              X
  35. Other personal property of any kind not              Back Halls on ERN-LSB and LSB-NBL equipment                                                    24,000.00
      already listed. Itemize.
                                                           for WAV
        Other personal property of any kind not            Tower equipment in Erin, Hustisford, Hartford, St.                                            136,600.00
        already listed. Itemize.
                                                           Laurance, Jefferson, Fort Atkinson, Lake Mills,
                                                           Whitewater, Waterloo, Ixonia, North Lake for SBA 1,
                                                           2, 3
        Other personal property of any kind not            Tower equipment in Watertown secured by GE                                                       1,000.00
        already listed. Itemize.
                                                           Capital
        Other personal property of any kind not            Unsecured tower equipment                                                                      22,085.00
        already listed. Itemize.


                                                           2    continuation sheets attached                           Total
                                                                                                                                Ø
                                                                                                                                                      $1,504,771.18

                                                                                                                           (Include amounts from any continuation sheets
                                                                                                                           attached. Report total also on Summary of
                                                                                                                           Schedules.)




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